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                     THE STATE OF NEW HAMPSHIRE
                 United States District Court – District of NH

               John Doe

                   v.                               Civil Action No.

      Franklin Pierce University


        PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF HIS
             MOTION TO PROCEED UNDER A PSEUDONYM


     Plaintiff John Doe (“Doe”) hereby requests permission to proceed under a

pseudonym in the instant case.

     In support, it is stated:

                                   BACKGROUND

     1. John Doe brings his civil action against Franklin Pierce University

        (FPU), claiming that FPU discriminated against him on the basis of

        sex in violation of Title IX, and breached its contract with him and

        other duties owed to him, in its administration of misconduct

        proceedings that were initiated after a complaint by Sally Smith.

     2. During the 2018-2019 school year, when John Doe (“John”) and

        “Sally Smith” (“Sally”) were both freshman, they began dating.

        Beginning that year, John and Sally had an intimate, romantic, and

        sexual relationship. They had an on-again, off-again relationship that

        continued through the fall of their junior year.

     3. After a physical altercation on October 27, 2021, Sally brought a

        complaint against John. An eviction letter sent by FPU to John


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   described the complaint, alleged to have occurred on October 27,

   2021, as follows: “Reported abuse of another student including

   suffocation, physically dragging the individual, and sexual assault.”

4. Two days later, FPU sent further correspondence which referenced the

   alleged incident on October 27, and further alleged without detail that

   John had subjected Sally to “other forms of physical and emotional

   abuse throughout your relationship.”

5. Correspondence from FPU to John, and FPU’s rules governing Title IX

   and other misconduct hearings, made clear that the process would be

   confidential.

6. An outside attorney, Susan Schorr was retained to conduct the Title

   IX investigation. Attorney Schorr conducted her investigation and

   eventually provided a report that described Sally’s allegations: About

   twenty separate episodes of sexual violence, physical violence, or

   other abusive behavior.

7. After the investigation closed, and shortly before the hearing, FPU

   provided notice of 14 specific charges, 7 under Title IX and 7 under

   FPU’s misconduct policy. The details of the accusations, as developed

   at the hearing, included graphic details of alleged sexual assaults,

   physical assaults, and other alleged abusive behavior. These included

   allegations of an attempt to coerce Sally to engage in oral sex, sexual

   intercourse while Sally was asleep, and alleged abusive retaliatory

   conduct after Sally declined to engage in sexual activity.



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8. Although FPU charged only John with sexual assault, dating violence

   and other forms of misconduct, the investigation report and testimony

   at the hearing included details of assaults allegedly committed by

   Sally against John, theft committed by Sally against John, and very

   graphic messaging about consensual sexual conduct that Sally

   wished to engage in.

9. After the hearing, and after an appeal process, FPU found John guilty

   of six of the fourteen accusations (but none of the alleged sexual

   assaults), barred him from campus, suspended him for three

   semesters, and ordered him to pay restitution to Sally. FPU ordered

   that details of the findings would be placed on John’s permanent

   academic record.

10.   Plaintiff’s lengthy suspension and other disciplinary consequences

   will cause significant damage to his reputation, his education, and his

   career. It is unlikely he will be able to transfer to a desirable school

   given the ‘scarlet letter’ that has been placed on his academic record.

   The completion of his undergraduate education will be delayed. His

   prospects for continuing to play basketball for a NCAA Division II

   school with a full scholarship and pursue a career in any sector of the

   sports industries have been severely harmed.

11.   John seeks an order allowing him to proceed under a pseudonym,

   and to refer to ‘Sally’ using a pseudonym, so that he can pursue his

   case without occasioning further reputational harm, and without



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  further harm to his mental and emotional health, the very harms he is

  seeking to undo.

                                 ARGUMENT

12.   In order to prevail on this motion, John must overcome the

  “common law presumption in favor of public access.” Nat’l Org. For

  Marriage v. McKee, 649 F.3d 34, 70 (1st Cir. 2011). Further, Federal

  Rule 10(a) requires that “[i]n the complaint the title of the action shall

  include the names of all the parties.” Fed. R. Civ. P. 10(a).

13.   Nevertheless, “[s]everal circuit courts have condoned

  pseudonymous litigation.” Qualls v. Rumsfeld, 228 F.R.D. 8, 10

  (D.D.C. 2005)(collecting cases). Neither the United States Supreme

  Court nor the First Circuit have decided the standards for allowing a

  litigant to proceed under a pseudonym, although they have

  adjudicated such cases without negative commentary about the use of

  a pseudonym. E.g., Roe v. Wade, 410 U.S. 113 (1973); Doe v.

  Shibinette, 16 F.4th 894 (1st Cir. 2021).

14.   The First Circuit employs a balancing test for the related context of

  requests to seal judicial records. McKee, 649 F.3d at 70. The balance

  “must be struck, of course, in light of the relevant facts and

  circumstances of the particular case.” F.T.C. v. Standard Fin. Mgmt.

  Corp., 830 F.2d 404, 410 (1st Cir. 1987) (quotations omitted).

15.   In Doe v. Trustees of Dartmouth College, Civil No. 18-cv-040-LM,

  Opinion No. 2018 DNH 088 (D.N.H. 05/02/18), a case contextually



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  similar to this one, the court relied on a non-exhaustive nine-factor

  balancing test employed by the 3d Circuit Court of Appeals for

  determining whether a party would be allowed to litigate under a

  pseudonym. Slip op. at 11-12 (discussing Doe v. Megless, 654 F.3d

  404 (3d Cir. 2011)).

16.   The Third Circuit listed those nine factors as follows:

      (1) the extent to which the identity of the litigant has been kept
      confidential; (2) the bases upon which disclosure is feared or
      sought to be avoided, and the substantiality of these bases; (3) the
      magnitude of the public interest in maintaining the confidentiality
      of the litigant's identity; (4) whether, because of the purely legal
      nature of the issues presented or otherwise, there is an atypically
      weak public interest in knowing the litigant's identities; (5) the
      undesirability of an outcome adverse to the pseudonymous party
      and attributable to his refusal to pursue the case at the price of
      being publicly identified; [] (6) whether the party seeking to sue
      pseudonymously has illegitimate ulterior motives
      . . . . [(7)] the universal level of public interest in access to the
      identities of litigants; [(8)] whether, because of the subject matter
      of this litigation, the status of the litigant as a public figure, or
      otherwise, there is a particularly strong interest in knowing the
      litigant's identities, beyond the public's interest which is normally
      obtained; and [(9)] whether the opposition to pseudonym by
      counsel, the public, or the press is illegitimately motivated.


      Megless, 654 F.3d at 409.
17.   The first of these factors, the extent to which the identity of the

  litigant has been kept confidential, supports plaintiff’s request. FPU

  conducted the accusatory, investigative, and hearing process

  confidentially in this case. The public cannot readily access any of the

  details of the accusations, investigation, hearing, or the outcome of

  the hearing. It is, by design, the opposite of a transparent process.




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18.   This is not to say that the findings will be kept confidential. FPU

  has made clear that it will record information about the findings in

  John’s permanent academic record and make that available to anyone

  who requests and is eligible to receive his record, including employers,

  other educational institutions that John may apply to, and graduate

  schools. But the public is not provided a general right of access.

19.   The second factor, the bases upon which disclosure is feared or

  sought to be avoided, also supports John’s request. Plaintiff contends

  that public identification will significantly harm his reputation, his

  future prospects to play basketball for a NCAA school or

  professionally, and his long-term career prospects.

20.   This case involves one of the most private matters litigation can

  address, the private sexual conduct of individuals. “[O]ne's sexual

  practices are among the most intimate parts of one's life,” and the

  public disclosure of such information may subject one to

  embarrassment or ridicule. Doe v. Blue Cross & Blue Shield of R.I.,

  794 F. Supp. 72, 74 (D.R.I. 1992) (discussed in context of transgender

  plaintiff). See also Doe v. Univ. of St. Thomas, No. 16-CV-1127-ADM-

  KMM, 2016 WL 9307609, at *2 (D. Minn. May 25, 2016)

  (unpublished) (“The complaint and its supporting documents describe

  very private sexual acts, whether consensual or not, between two

  young college students, and it is difficult to imagine any resolution of

  this case without further exploration of truly intimate matters.



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  Numerous courts, considering similar cases, have allowed plaintiffs to

  proceed pseudonymously in large part because of the very intimate

  nature of the claims at issue.”); Doe v. Cabrera, 307 F.R.D. 1, 5

  (D.D.C. 2014) (“Courts generally allow a plaintiff to litigate under a

  pseudonym in cases containing allegations of sexual assault because

  they concern highly sensitive and personal subjects”); EW v. New York

  Blood Ctr., 213 F.R.D. 108, 111 (E.D.N.Y. 2003) (“[M]any courts have

  held that, in lawsuits centering around sexual activity and behavior, a

  plaintiff is entitled to proceed under a pseudonym where revealing the

  plaintiff's name subjects him or her to the risk of public disapproval,

  harassment, or bodily harm.”).

21.   The risk of substantial harm to John’s reputation, educational and

  career prospects if he cannot litigate under a pseudonym, exists

  regardless of the outcome of this litigation. Doe v. Univ. of St. Thomas,

  No. 16-CV-1127-ADM-KMM at *2 (“Even if his lawsuit were successful

  and his claims of unfair treatment were vindicated down the road—an

  outcome about which the Court offers no opinion of likelihood—the

  complained-of damage to Mr. Doe's reputation would be perhaps

  unfixable if his identity is known. . . .”). Particularly in the internet

  and social media era, the mere association of plaintiff with phrases

  like “sexual assault” and “dating violence” will inflict great

  reputational harm. And it is not uncommon to have a case where a

  media outlet covers the pretrial proceedings in a case, but never



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  covers the outcome, because no reporter attends the jury trial, and no

  party issues a press release.

22.   While John is careful here not to claim to be a defender of anyone

  else’s interests, other courts have also relied on the complainant’s

  privacy interest in granting motions to litigate under a pseudonym.

  Doe v. Trustees of Dartmouth College, Civil No. 18-cv-040-LM, Opinion

  No. 2018 DNH 088, *14-15 (D.C.N.H. 05/02/18). “Unlike a litigant,

  who in using the courts must be prepared to accept the public

  scrutiny that is an inherent part of public trials, Sally Smith is a

  nonparty.” Id. (quotations and citation omitted).

23.   As discussed above, many details of this case could result in public

  embarrassment to Sally Smith if she was identified without

  pseudonym, including details of intimate sexual conduct, details of

  assaults and thefts committed by her against plaintiff, and the fact

  that the disciplinary board did not find her own sworn testimony to

  constitute sufficient evidence of sexual assault, which strongly implies

  that the board did not credit parts of her testimony.

24.   The third factor, whether there is a public interest in maintaining

  the plaintiff’s anonymity, is either neutral or favors granting this

  motion. In Doe v. Smith, a justice of this court “note[d] that there is

  authority for the proposition that precluding pseudonymous litigation

  in college disciplinary cases may have a chilling effect on future

  plaintiffs who seek to challenge the adequacy of the process.” 1:18-cv-



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  00040-LM, * at 16 (citing Doe v. Colgate Univ., No. 5:15-cv-1069, 2016

  WL 1448829, at *2 (N.D.N.Y. Apr. 12, 2016). Since the disciplinary

  process itself is confidential, it stands to reason that prohibiting the

  use of pseudonyms in a federal court challenge to the outcome of the

  proceeding would have a chilling effect on plaintiffs.

25.   The fourth factor, whether there is an atypically weak public

  interest in knowing the litigant’s identities given the purely legal

  nature of the issues presented or otherwise, while arguably neutral,

  probably weighs against plaintiff. In Doe v. Smith, a justice of this

  court reasoned that the factor did not weigh in plaintiff’s favor,

  because the “dispute is over how Dartmouth applied its policies in

  plaintiff’s case, how it came to its determination of the underlying

  facts, and whether the procedure was tainted by any bias.” 1:18-cv-

  00040-LM, at *16. While it can be argued that those issues require

  the public to know the educational institution’s identity, not the

  plaintiff’s identity, John accepts for purpose of this motion that the

  factor weighs against him.

26.   The fifth factor, whether “the litigant [will] sacrifice a potentially

  valid claim simply to preserve [his] anonymity,” weighs against

  plaintiff, because he will not forgo his right to litigate his claim in

  federal court if this motion results in a ruling against him. If this

  court rules against him, he will seek leave to file a substitute or




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  amended Complaint that refers to himself, Sally Smith, and the

  witnesses below by their true names.

27.   The sixth factor, whether the litigant is seeking to use a

  pseudonym for nefarious reasons, weighs in favor of plaintiff’s

  request, as he has only good faith intentions in seeking to keep his

  identity, and Sally Smith’s identity, confidential.

28.   The seventh factor, the universal interest in favor of open judicial

  proceedings, weighs against plaintiff.

29.   The eighth factor, whether there is a stronger public interest in

  knowing the litigant’s identity, in light of the subject matter of the

  litigation, the status of the litigant as a public figure, or any other

  reason, weighs in favor of plaintiff’s motion. FPU is a private college.

  John Doe is a private (and youthful) individual, not a public figure.

  And as argued in paragraph (25) above, the public interest in knowing

  whether FPU has failed to enforce governing federal law in its own

  judicial proceedings, and whether FPU has breached its contractual

  and other obligations to a student, will be served regardless of

  nondisclosure of the identities of the students involved.

30.   The ninth factor, whether any opposition to the use of a

  pseudonym is illegitimately motivated, cannot be assessed until FPU

  provides its position on this motion. But if FPU does not oppose this

  motion, or takes no position, then the factor weighs in favor of

  plaintiff as there is no such opposition.



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     31.   John Doe asks this Court to rule, as a justice of this court ruled in

        the similar litigation discussed throughout this motion, Doe v. Smith,

        1:18-cv-00040-LM, at *18, that an appropriate balancing of all the

        factors should result in the granting of this motion.

     32.   John Doe understands and acknowledges that even if this court

        rules in his favor for the purpose of pretrial proceedings, the factors

        may need to be rebalanced and could result in a different ruling

        should the case proceed to trial.

     33.   John Doe attempted to obtain the position of FPU prior to filing

        this motion but was not able to do so, thus FPU’s position is

        unknown.


     WHEREFORE, John Doe respectfully requests that this Court:

     A) Grant this motion; or
     B) Schedule a hearing on this motion, and
     C) Grant such further relief as serves justice.

DATED: May 25, 2022                         Respectfully submitted,

                                            /s Theodore M. Lothstein
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                                CERTIFICATION

      I, Theodore Lothstein, hereby certify that a copy of this motion will be
sent to all registered subscribers to this case on ECF, and further, that as soon
as the identity of opposing counsel is known, I will send a copy of this motion
and the accompanying Memorandum of Law to them.

                                            /s Theodore Lothstein
                                            Theodore M. Lothstein




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